                                                           SO ORDERED.


                                                           Dated: August 21, 2018

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   2                                                       ______________________________________
                                                           Madeleine C. Wanslee, Bankruptcy Judge
   3
       2158 N. Gilbert Road, Suite 119
   4   Mesa, Arizona 85203
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   5   Facsimile     (480) 668-3110
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       Attorney for Creditors Victoria Lindsay Properties L.L.C.
   7   and Lavender & Old Lace LLC
   8
                        IN THE UNITED STATES BANKRUPTCY COURT
   9
                                 FOR THE DISTRICT OF ARIZONA
  10
       In Re:                                          Chapter 13
  11
       CHRISTIAN MICHEL HUGHES and                     Case No.: 2:18-bk-00450-MCW
  12   EMILY LOELLA HUGHES,
                                                       ORDER GRANTING
  13                         Debtors.                  WITHDRAWAL OF
                                                       CLAIMS 19 AND 20
  14

  15            Before the Court is the Motion for Withdrawal of Claims 19 and 20 ("Motion")

  16   (Dkt. 42) filed on July 30, 2018 by Victoria Lindsay Properties L.L.C. and Lavender &

  17   Old Lace LLC, creditors in this case.

  18            The Court finds that Russell Brown, trustee for debtor, was duly notified of the

  19   motion on July 30, 2018.

  20            No opposition or objection having been filed adverse to the Motion,

  21            IT IS ORDERED that Claims 19 and 20 are withdrawn.

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